http://www2.dre.ca.gov/PublicASP/pplinfo.asp?License_id=01827986
                         Case 3:10-cv-03142-TEH                    Document 19   Filed 09/07/10   Page 1 of 2   9/7/10 9:45 AM




                                               STATE OF CALIFORNIA
                                            DEPARTMENT OF REAL ESTATE
    The license information shown below represents public information taken from the Department of Real Estate's
   database at the time of your inquiry. It will not reflect pending changes which are being reviewed for subsequent
    database updating. Also, the license information provided includes formal administrative actions that have been
  taken against licensees pursuant to the Business and Professions Code and/or the Administrative Procedure Act. All
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                   licensees are included, this information is not intended for mass mailing purposes.

       License information taken from records of the Department of Real Estate on 9/7/2010 9:44:41 AM

  License Type:                               CORPORATION

  Name:                                       American First Financial Corp

  Mailing Address:                            5547 CHESBRO AVE
                                              SAN JOSE, CA 95123

  License ID:                                 01827986

  Expiration Date:                            10/10/11

  License Status:                             LICENSED

  Corporation License Issued: 10/11/07

  Former Name(s):                             NO FORMER NAMES

  Main Office:                                5547 CHESBRO AVE
                                              SAN JOSE, CA 95123

  Licensed Officer(s):                        DESIGNATED OFFICER
                                              01467490 - Expiration Date: 10/10/11
                                              Eyvaznejad, Rosana

  DBA                                         Destination Home Loans
                                              ACTIVE FROM 07/14/2009 TO 06/13/2010

                                              The Mortgage Resolution
                                              ACTIVE FROM 03/30/2009 TO 06/13/2010

                                              VR Financial
                                              ACTIVE FROM 05/09/2008 TO 06/13/2010

                                              NO CURRENT DBAS

  Branches:                                   4030 A INTERNATIONAL BLVD
                                              OAKLAND, CA 94601

  Salespersons:                               01838819 - Cabezas, Ricardo

                                                                                                                    Page 1 of 2
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                         Case 3:10-cv-03142-TEH                    Document 19   Filed 09/07/10   Page 2 of 2   9/7/10 9:45 AM




                                              01859517 - Cotton, Boomie

                                              01507745 - Eyvaznejad, Rameil

                                              01800683 - Gutierrez, Adalberto

                                              01476027 - Haw, Presentacion Romano

                                              01451647 - Juarez, Mario R

                                              01830363 - Kratz, John Francis

                                              01886494 - Madoo, Kamil

                                              01441740 - Mc Daniel, Tara Dudnath

                                              01779468 - Munguia, Enedina

                                              01459503 - Partisala, Susan Peralta

                                              01877440 - Peralta, Vanessa Lazaga

                                              01334123 - Sandhu, Baljinder S

                                              01382654 - Villafuerte, Oscar Bernardo

  Comment:                                    NO DISCIPLINARY ACTION

                                              NO OTHER PUBLIC COMMENTS

                                              >>>> Public information request complete <<<<




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